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                                                                and third parties Yasha Asadpoor and Ani Moosakhanian
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                                                                                   UNITED STATES DISTRICT COURT
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                                                                                  CENTRAL DISTRICT OF CALIFORNIA
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                                                           13   BOOST BEAUTY, LLC, a California          Case No. 2:18-cv-02960-CAS-E
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                                                           14   limited liability company,
                                                                                                         Honorable Charles F. Eick
                                                           15   Plaintiff,
                                                           16                                            NOTICE OF MOTION AND
                                                                v.                                       MOTION TO QUASH SUBPOENA
                                                           17                                            UPON GODADDY REGARDING
                                                           18   WOO SIGNATURES, LLC, a                   THIRD PARTIES YASHA
                                                                California limited liability company;    ASADPOOR AND ANI
                                                           19   TADEH BOOGHOSIANSSARDABI,                MOOSAKHANIAN
                                                           20   an individual; FARSHID KARAMZAD
                                                                GOFLSAZ, an individual; ARASH
                                                           21   SEDIGHI, an individual; and DOES 1-      Date: February 21, 2020
                                                           22   10, inclusive,                           Time: 9:3    0 A.M.
                                                                                                         Crtrm: 750 Roybal
                                                           23   Defendants.
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                                          1        TO ALL PARTIES HEREIN, AND TO THEIR RESPECTIVE
                                          2 ATTORNEYS OF RECORD:

                                          3        Please take notice that on February 21, 2020 at 9:30 am or as soon thereafter as
                                          4 may be heard in Courtroom 750 Roybal of the above-entitled court, located at 255 East

                                          5 Temple Street, Los Angeles, third party subjects of Defendants’ subpoena, Yasha

                                          6 Asadpoor and Ani Moosakhanian, will and hereby do move this Court to quash

                                          7 Defendants’ subpoena for production of records issued to the Compliance Department

                                          8 for GoDaddy.com, LLC (“GoDaddy”).

                                          9        This Motion is brought pursuant to Federal Rule of Civil Procedure 45(d)(3) and
                                         10 on the grounds that the records request is not within the permissible scope of discovery,

                                         11 is not reasonably calculated to lead to admissible evidence and violates the privacy of
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                                         12 third parties. They do not bear any direct relevance to the issues in this action.

                                         13        This Motion is based on this Notice of Motion, the Memorandum of Points and
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                                         14 Authorities, the Declaration of Drew H. Sherman, the records and pleadings on file in

                                         15 this action, and the arguments and evidence presented at the hearing.

                                         16        This Motion is made following the conference of counsel pursuant to Local
                                         17 Rule 7-3 which took place on January 14, 2020.

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                                                                                   ADLI LAW GROUP, P.C.
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                                              Dated: January 23, 2020            /s/By:
                                                                                     D          /s/Drew H. Sherman
                                         22                                               Dariush G. Adli, Esq.
                                                                                          Drew H. Sherman, Esq.
                                         23
                                                                                          Attorneys for Plaintiff
                                         24                                               Boost Beauty, LLC
                                                                                          and third parties Yasha Asadpoor and Ani
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                                                                                          Moosakhanian
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                                          1                  MEMORANDUM OF POINTS & AUTHORITIES
                                          2 I.     INTRODUCTION
                                          3        This Motion to Quash arises from the issuance of a business records subpoena
                                          4 upon the Compliance Department for GoDaddy.com, LLC for websites registered by

                                          5 Yasha Asadpoor and Ani Moosakhanian.

                                          6        The information sought from GoDaddy does not appear to be reasonably
                                          7 calculated to lead to any admissible evidence. The primary questions at issue in this

                                          8 case are whether Defendants are liable for trademark infringement, unfair

                                          9 competition, misappropriation of trade secrets, and fraud. The third-party records

                                         10 sought in this subpoena have no relevance to those questions.

                                         11        Additionally, the subpoena seeks information regarding two non-parties to the
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                                         12 lawsuit. They are entitled to a right of privacy with regards to their personal interests,

                                         13 including but not limited to websites. This right mandates that no private information
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                                         14 should be disclosed unless Defendants as the subpoenaing parties demonstrate there

                                         15 is a “compelling need” relative to the issues in this case. For the reasons set forth

                                         16 below, Asadpoor and Moosakhanian respectfully submit this threshold cannot be met.

                                         17

                                         18 II.    STATEMENT OF FACTS
                                         19        The operative complaint alleges, among other things, that Defendants have
                                         20 used without Plaintiff’s authorization a trademark which closely resembles and is

                                         21 substantially indistinguishable from Plaintiff’s registered trademark, which has

                                         22 caused confusion in the market, misappropriated a trade secret, and further that

                                         23 Defendants committed a fraud on a principal of Plaintiff to accomplish this

                                         24 misappropriation. (Dkt. No. 32.) Yasha Asadpoor and Ani Moosakhanian, and what

                                         25 domain names they previously owned as individuals, are not parties to the litigation,

                                         26 and there are not any cross-claims against Plaintiff or any other party.

                                         27        Notwithstanding these facts, Defendants subpoenaed the records of GoDaddy,
                                         28 seeking the production of: “All websites registered by Yasha Asadpoor and/or Ani
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                                          1 Moosakhanian.” (Declaration of Drew Sherman (“Sherman Decl.”)).

                                          2        Defendants are wrongfully seeking discovery into privileged and irrelevant
                                          3 material of third parties.

                                          4

                                          5 III.   THIRD PARTIES ASADPOOR AND MOOSAKHANIAN MAY MOVE
                                          6 TO QUASH THE SUBPOENA.

                                          7        Third parties have standing to bring a motion to quash where, even though
                                          8 they are not the subpoenaed party, they are the target of the information sought. See

                                          9 Packaging Corporation of America v. Bonert’s, Inc., 2019 WL 1223165 at *4 (C.D.

                                         10 Cal. Mar. 11, 2019); see also In re Grand Jury Subpoenas Dated Dec. 10, 1987, 926

                                         11 F.2d 847, 853 (9th Cir. 1991).
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                                         12        One basis upon which a court must quash or modify a subpoena is when the
                                         13 information sought “requires disclosure of privileged or other protected matter…”
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                                         14 Fed.R.Civ.P.45(d)(3)(A)(iii).

                                         15

                                         16 IV.    THE COURT MUST QUASH THE GODADDY SUBPOENA BECAUSE
                                         17 THE INFORMATION SOUGHT IS NOT RELEVANT TO THE INSTANT

                                         18 LITIGATION, AND THEREFORE DEFENDANTS CANNOT PROVE
                                         19 THERE IS A “COMPELLING NEED” SUFFICIENT TO OVERCOME THE

                                         20 THIRD PARTIES’ RIGHT TO PRIVACY

                                         21        Federal courts balance a litigant’s need for information against the privacy right
                                         22 of individuals, including third parties. See Stallworth v. Brollini, 288 F.R.D. 439, 444

                                         23 (N.D. Cal. 2012). Where state law provides privacy as a right or privilege, federal

                                         24 courts honor that by protecting the information from disclosure in discovery. Garcia

                                         25 v. City of Imperial, 270 F.R.D. 566, 572 (S.D. Cal. 2010).

                                         26        The California Constitution explicitly grants individuals a right to privacy. Cal.
                                         27 Const., art. I, §1. The California Supreme Court has held this right to privacy extends

                                         28 to third parties. Valley Bank v. Superior Court, 15 Cal.3d 652 (1975).
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                                          1        Where the right to privacy is asserted, “[t]he party seeking discovery must
                                          2 demonstrate a compelling need for discovery, and that compelling need must be so

                                          3 strong as to outweigh the privacy right when these two competing interests are

                                          4 carefully balanced.” Lantz v. Superior Court, 28 Cal.App.4th 1839, 1853-54 (1994)

                                          5 (“Lantz”). Even where disclosure is justified, its scope should be tempered with

                                          6 “narrow specificity” so as to protect the individual’s privacy right. Britt v. Superior

                                          7 Court, 20 Cal.3d. 844, 856 (1978).

                                          8        Here, the records sought by the Subpoena do not appear reasonably calculated
                                          9 to lead to any admissible evidence. Simply put, this case pertains to Plaintiff’s claims

                                         10 against Defendants for trademark infringement, misappropriation of trade secrets,

                                         11 unfair competition, and fraud claims. Accordingly, the only relevant inquires pertain
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                                         12 to Defendants’ website(s) or, at best, Plaintiff’s website(s).      The website(s) of
                                         13 individual third parties, especially those websites that are no longer owned by those
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                                         14 individuals, have no relevance to the underlying lawsuit. Given they are not relevant,

                                         15 there can be no “compelling need” for their disclosure, let alone one which would

                                         16 outweigh the third parties’ right to privacy. Lantz, supra, 28 Cal.App.4th at 1853-54.

                                         17        Accordingly, the Subpoena must be quashed in its entirety, as it calls for
                                         18 production of documents not within the permissible scope of discovery and of a highly
                                         19 personal nature such as to violate rights of privacy.

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                                          2 V.    CONCLUSION
                                          3       For the reasons set forth above, third parties Yasha Asadpoor and Ani
                                          4 Moosakhanian respectfully request that the Court grant the Motion to Quash in its

                                          5 entirety.

                                          6

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                                                                                  ADLI LAW GROUP, P.C.

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                                          9   Dated: January 23, 2020           /s/By:
                                                                                    D          /s/Drew H. Sherman
                                                                                         Dariush G. Adli, Esq.
                                         10                                              Drew H. Sherman, Esq.
                                         11                                              Attorneys for Plaintiff
                                                                                         Boost Beauty, LLC
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                                         12                                              and third parties Yasha Asadpoor and Ani
                                         13                                              Moosakhanian
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                                                            1                            CERTIFICATE OF SERVICE
                                                            2        I hereby certify that I electronically filed the foregoing documents with the
                                                            3 Clerk of the Court for the United States District Court for the Central District of

                                                            4 California by using the CM/ECF system on January 22, 2020:

                                                            5

                                                            6 NOTICE OF MOTION AND MOTION TO QUASH SUBPOENA UPON

                                                            7 GODADDY REGARDING THIRD PARTIES YASHA ASADPOOR AND ANI

                                                            8 MOOSAKHANIAN

                                                            9

                                                           10        Participants in the case who are registered CM/ECF users will be served by the
                                                           11 CM/ECF System.
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                                                           12        I certify under penalty of perjury that the foregoing is true and correct.
                                                           13 Executed January 22, 2020 at Los Angeles, California.
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                                                           14

                                                           15

                                                           16 Dated: January 22, 2020                        /s/ Drew H. Sherman
                                                                                                             Drew H. Sherman, Esq.
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                                                                                                CERTIFICATE OF SERVICE
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